Case 2:05-cr-20072-.]PI\/| Document 32 Filed 05/27/05 Page 1 of 3 Page|D 33

IN THE U'NITED STATES DISTRICT COUR'I`
FOR THE WES'I`ERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED S'I'ATES OF AMERICA
Plaintiff,

V.

7//$11-4¢4‘1 local/fr
/§l¢¢?)`a§'A/€ §/€AW?C

Criminal No.p_£;WV/?lvlléjz

(60-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXC‘LUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
he continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, With trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open
court at report date this 27th day of May, 2005.

' liance
‘\`h\s doctment entered on the docket sheet 111 comer
or 32¢b\ FRCrP on LQ § §§

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SEL

Case 2:05-cr-20072-.]PI\/| Document 32 Filed 05/27/05 Page 2 of 3 Page|D 34

so oRDERED this 27ch day cf May, 2005.

MW©QQ

JO PHIPPS MCCALLA
UN TED STA'I`ES DIS'I'RICT JUDGE

/7"\\~¢///

Ass` tant United States torney

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Counsel for Defendant(s}

   

UNITED sT"RATEDISTIC COURT -WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20072 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

